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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0584V
                                          UNPUBLISHED


    CHRISTINE SARTORELLI,                                       Chief Special Master Corcoran

                         Petitioner,                            Filed: July 29, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


John Robert Howie, Jr., Howie Law, PC, Dallas, TX, for petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On April 18, 2019, Christine Sartorelli filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered on
January 15, 2018. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On May 18, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On July 29, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $46,495.18 (consisting
of $45,000.00 in pain and suffering and $1,495.18 in past, unreimbursed expenses).
Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $46,495.18 (consisting of $45,000.00 in pain and suffering and
$1,495.18 in past, unreimbursed expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

CHRISTINE SARTORELLI,                              )
                                                   )
                      Petitioner,                  )
                                                   )
       v.                                          ) No. 19-584V
                                                   ) Chief Special Master Brian Corcoran
SECRETARY OF                                       )
HEALTH AND HUMAN SERVICES,                         )
                                                   )
                      Respondent.                  )
                                                   )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On May 18, 2020, respondent filed a Vaccine Rule 4(c) report concluding that petitioner

suffered a Shoulder Injury Related to Vaccine Administration within the Table timeframe

following an influenza vaccination, and conceding petitioner’s entitlement to compensation

under the National Childhood Vaccine Injury Act of 1986, as amended, 42 U.S.C. §§ 300aa-10

to -34. Accordingly, on May 18, 2020, the Chief Special Master issued a Ruling on Entitlement.

I.    Items of Compensation

       Respondent proffers that petitioner should be awarded $46,495.18, consisting of

$45,000.00 in pain and suffering and $1,495.18 in past, unreimbursed expenses, which amount

represents all elements of compensation to which petitioner would be entitled under 42 U.S.C.

§ 300aa-15(a). Petitioner agrees.
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II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $46,495.18 in the form of a check payable to petitioner. 1 This

lump sum payment represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                              Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              ALEXIS B. BABCOCK
                                              Assistant Director
                                              Torts Branch, Civil Division

                                              s/ LARA A. ENGLUND
                                              LARA A. ENGLUND
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Dated: July 29, 2020




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.
                                                 2
